FillCase     17-43861to identify
       in this information  Docthe 41case:Filed               07/13/18         Entered 07/13/18 12:30:02              Main Document
B 10 (Supplement 2) (12/11)              (post publication draft)
                           Kimberly A. Stevenson
                                                                             Pg 1 of 4
    Debtor 1              __________________________________________________________________
                                                                       

 Debtor 2                 ________________________________________________________________
    (Spouse, if filing)

                                               Eastern                            Missouri
    United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
    Case number
                           17-43861
                           ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                               12/16

If the debtors plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

                                  US Bank Trust National Association, et al.
    Name of creditor: _______________________________________                                                              4-1
                                                                                               Court claim no. (if known): __________________

    Last 4 digits of any number you use to                   8 ____
                                                                  1 ____
                                                                    5 ____
                                                                         2
    identify the debtors account:                           ____

    Does this notice supplement a prior notice of postpetition fees,
    expenses, and charges?
    q      No
    q      Yes. Date of the last notice: ____/____/_____


    Part 1:         Itemize Postpetition Fees, Expenses, and Charges

    Itemize the fees, expenses, and charges incurred on the debtors mortgage account after the petition was filed. Do not include any
    escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
    approved an amount, indicate that approval in parentheses after the date the amount was incurred.

         Description                                                          Dates incurred                                    Amount

     1. Late charges                                                          02/17/18, 03/17/18, 04/17/18 & 06/17/18
                                                                              _________________________________           (1)     253.12
                                                                                                                                $ __________
     2. Non-sufficient funds (NSF) fees                                       _________________________________           (2)   $ __________
     3. Attorney fees                                                         _________________________________           (3)   $ __________
     4. Filing fees and court costs                                           See Attached
                                                                              _________________________________           (4)     125.00
                                                                                                                                $ __________
     5. Bankruptcy/Proof of claim fees                                        _________________________________           (5)   $ __________
     6. Appraisal/Brokers price opinion fees                                 _________________________________           (6)   $ __________
     7. Property inspection fees                                              _________________________________           (7)   $ __________
     8. Tax advances (non-escrow)                                             _________________________________           (8)   $ __________
     9. Insurance advances (non-escrow)                                       _________________________________           (9)   $ __________
    10. Property preservation expenses. Specify:_______________               _________________________________          (10)   $ __________
    11. Other. Specify:____________________________________                   _________________________________          (11)   $ __________
    12. Other. Specify:____________________________________                   _________________________________          (12)   $ __________
    13. Other. Specify:____________________________________                   _________________________________          (13)   $ __________
    14. Other. Specify:____________________________________                   _________________________________          (14)   $ __________


    The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
    See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


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Debtor 1
                    Kimberly A. Stevenson
                   _______________________________________________________
                                                                                                                     17-43861
                                                                                                 Case number (if known) _____________________________________
                   First Name      Middle Name               Last Name





    Part 2:       Sign Here


        The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
        telephone number.
        Check the appropriate box.

        q   I am the creditor.
        q   I am the creditors authorized agent.


        I declare under penalty of perjury that the information provided in this claim is true and correct to the best
        of my knowledge, information, and reasonable belief.



                   /s/ Megan M. Lynch
                  û__________________________________________________                            Date
                                                                                                         07 13 2018
                                                                                                         ____/_____/________
                        
                      Signature                       



    Print:
                       Megan M. Lynch
                      _________________________________________________________                  Title
                                                                                                         Bankruptcy Asset Manager
                                                                                                         ___________________________
                      First Name                      Middle Name        Last Name



    Company
                       SN Servicing Corporation
                      _________________________________________________________



    Address
                       323 5th Street
                      _________________________________________________________
                      Number                 Street
                      Eureka                            CA        95501
                      ___________________________________________________
                      City                                               State        ZIP Code


                        800 603 0836                                                                     bknotices@snsc.com
    Contact phone     (______) _____ _________                                                  Email ________________________




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                               CERTIFICATE OF SERVICE

                   STATE OF CALIFORNIA, COUNTY OF HUMBOLDT

          I, Megan M. Lynch, certify that I am a resident of the County aforesaid; I am over

   the age of 18 years and not a party to the within action; my business address is 323 Fifth

   Street, Eureka, California 95501.

          On July 13th 2018 I served the within a NOTICE OF POSTPETITION

   MORTGAGE, FEES, EXPENSES, AND CHARGES on all interested parties in this

   proceeding by placing a true and correct copy thereof enclosed in a sealed envelope with

   postage prepaid in the United States mail at Eureka, California, addressed as follows:

   Kimberly A. Stevenson
   9601 Rockman Court
   Rock Hill, MO 63119

   Diana S. Daugherty
   Chapter 13 Trustee
   P.O. Box 430908
   St. Louis, MO 63143

   Kimber Houpt Baro
   Baro Law Firm
   1605 N. Lindbergh Blvd
   Florissant, MO 63031

          I certify under penalty of perjury that the foregoing is true and correct.

          Executed on July 13th 2018 at Eureka, California.

                                                 /s/ Megan M. Lynch
                                                 Megan M. Lynch
